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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )
                                             ) 4:18-cr-40030-TSH
ELIJAH AIKEN                                 )
                                             )
       Defendant                             )
                                             )
____________________________________


HILLMAN, D.J.

    MEMORANDUM OF DECISION ON DEFENDANT’S MOTION FOR DISTRICT
         COURT REVIEW OF DETENTION ORDER (Document # 64)

                                         April 25, 2019


                                           Introduction

   The Defendant Elijah Aiken moves pursuant to 18 U.S.C. § 3145(b) for an order revoking

Magistrate Judge Hennessy’s order of detention entered on February 28, 2019. For the reasons

set forth below that Motion is denied.                    .

                                              Facts

   The Defendant is charged with conspiring to transport stolen goods in interstate or foreign

commerce in violation of 18 U.S.C. § 371, and with interstate transportation of stolen goods in

violation of 18 U.S.C. § 2314. These charges are the result of a series of breaking and enterings

into Target and Best Buy stores in Connecticut, New Jersey, Pennsylvania, and Massachusetts.

On February 4, 2015 the Defendant and his brother were arrested for attempting to break into a

Target Store in Southington, Connecticut. The Defendant pled guilty in Connecticut state court
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and was sentenced to 30 months of incarceration to be followed by 30 months of parole. Upon

his release from the Connecticut incarceration in June 2017, he was arrested and held pre-trial in

New Jersey and Pennsylvania for similar break-ins in those states. In November of 2017 Mr.

Aiken was released from incarceration on the New Jersey and Pennsylvania charges to be

supervised by the Connecticut Parole Office.

      The indictment in this case was returned on July 12, 2018, while Mr. Aiken was still under

parole supervision in Connecticut. Because the Connecticut authorities erroneously believed that

Mr. Aiken’s arrest was for conduct that post-dated his Connecticut release, the parole office in

Connecticut sought to violate his parole. All parties agree that the Connecticut parole violation

was in error because the conduct pre-dated his sentence, and that the Connecticut Parole

authorities would allow the Defendant to be returned to a half-way house and parole supervision

in Connecticut if released from this case.

                                             Discussion

   The Defendant argues that his conduct while on parole in Connecticut warrants release in this

case. He argues that the strict Connecticut parole conditions and his continued compliance with

those condition make him a candidate for release. In addition, in September of 2018 when Mr.

Aiken was informed by his parole officer of the existence of the indictment and arrest warrant in

this case he voluntarily turned himself despite the potential for detention.

   The Government points to the Defendant’s history, specifically that within two days of his

pre-trial release on money laundering charges in New Jersey, the Defendant and his brother,

using two-way radios, masks, and crowbars, broke into the Best Buy in Bethel Park,

Pennsylvania and stole over 100 cell phones. They went on to commit at least 9 separate
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breaking and enterings (and attempted break-ins) at the Target and Best Buy stores referenced

above, all while on pre-trial release

    I credit the Defendant’s conduct while on parole in this case over the last 10 months. I further

credit the Defendant for voluntarily turning himself in after being notified by his parole officer of

the outstanding warrants in this case. However, I also find that the Defendant faces a significant

incarceration of up to 51 to 63 months.1 While the Defendant has demonstrated compliance with

his current parole conditions, he was on parole for only 10 months prior to his arrest on these

charges. He has a documented history of criminal conduct while on pre-trial release and the

evidence against him is strong.

    Accordingly, I find that the Government has established by a preponderance of the evidence

that no conditions, or combination of conditions will reasonably assure the appearance of the

Defendant. I therefore deny the Defendant’s Motion and order the Defendant held on the same

terms as presently exist.




                                                               /s/Timothy S. Hillman
                                                               TIMOTHY S. HILLMAN
                                                               DISTRICT JUDGE




1
 The Defendant argues that his guideline range will be safety valve eligible and that he will face a guideline range
of 21-33 months, which is still a significant incarceration.
